     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 1 of 17




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 P.J.E.S., A MINOR CHILD, by and through
 his father and NEXT FRIEND, Mario Escobar
 Francisco, on behalf of himself and others
 similarly situated,

                    Plaintiff,
                                                 Civil Docket No. 1:20-cv-02245-EGS
        v.

 CHAD WOLF, Acting Secretary of Homeland
 Security, et al.,

                    Defendants.



       DEFENDANTS’ MOTION TO RECONSIDER THE COURT’S DENIAL OF
          A STAY OF PRELIMINARY INJUNCTION PENDING APPEAL
       Pursuant to Federal Rule of Civil Procedure 54(b), Defendants request that the Court

reconsider its denial of a stay of its preliminary injunction issued on November 18, 2020. The

grounds for this motion are set forth in the accompanying memorandum of law and supporting

declarations.

       Pursuant to Local Civil Rule 7(m), counsel for Defendants has conferred with counsel for

Plaintiff. Plaintiff opposes the motion.


Dated: November 25, 2020
Respectfully submitted,

                                                JEFFREY BOSSERT CLARK
                                                Acting Assistant Attorney General

                                                JOHN V. COGHLAN
                                                Deputy Assistant Attorney General
Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 2 of 17




                                 /s/ Jean Lin
                                 JEAN LIN (NY 4074530)
                                 Special Litigation Counsel
                                 KEVIN SNELL (NY 5225669)
                                 TANYA SENANAYAKE (DC Bar 1006218)
                                 Trial Attorneys
                                 Federal Programs Branch
                                 Civil Division, Department of Justice
                                 1100 L Street, N.W.
                                 Washington, D.C. 20005
                                 (202) 514-3716
                                 Jean.Lin@usdoj.gov
                                 Attorneys for Defendants
    Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 3 of 17




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



P.J.E.S., A MINOR CHILD, by and through
his father and NEXT FRIEND, Mario Escobar
Francisco, on behalf of himself and others
similarly situated,

                Plaintiff,
                                             Civil Docket No. 1:20-cv-02245-EGS
      v.

CHAD WOLF, Acting Secretary of Homeland
Security, et al.,

                Defendants.



             DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
           MOTION TO RECONSIDER THE COURT’S DENIAL OF A STAY
               OF PRELIMINARY INJUNCTION PENDING APPEAL
       Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 4 of 17




                                       INTRODUCTION

        Just last week, the Centers for Disease Control and Prevention (“CDC”) advised the

American public that “the safest way to celebrate Thanksgiving is to celebrate at home with the

people you live with.” 1 And even for those thinking they might opt not to heed that advice, the

CDC suggested that travelers first carefully consider a series of “important questions,” including

whether “hospitals in your community or your destination [are] overwhelmed with patients who

have COVID-19” before choosing to travel. Id. Notably, our southern border’s hospitals are

stressed to the breaking point. For the same prophylactic reasons that logically impelled the CDC

to issue this health warning, Defendants respectfully renew their request that the Court stay its

preliminary injunction issued on November 18, 2020, which enjoined Defendants from expelling

class members under an order issued by the Director of the CDC (“CDC Order”).

        The CDC Order at issue temporarily prohibits the introduction of certain aliens traveling

from Canada and Mexico into the United States because of the serious danger they will introduce

COVID-19 into border facilities and the interior of the country. Since Defendants filed their

opposition to Plaintiff’s motion for preliminary injunction in September, the public health crisis

presented by COVID-19 has, by multiple measures, become more severe (and could intensify

further with the anticipated travel during the approaching holidays), materially exacerbating the

public health effects of the injunction. Because the injunction likely will have an irreversible

impact on public health, including by further straining hospital capacity at the border and risking

the detrimental cascading effect of moving potentially infected minors through airports in order to

transport them to care facilities, equity now counsels even more strongly in favor of staying the

injunction pending appeal. 2 Given the urgency of the public health crisis, Defendants intend to

   1
     CDC, Guidance, https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/holidays/
thanksgiving.html (last visited Nov. 24, 2020).
   2
      Defendants are not seeking reconsideration of this Court’s order granting Plaintiff’s motion
for a preliminary injunction, ECF No. 15, or provisionally granting Plaintiff’s motion to certify a
class, ECF No. 2. See Order, ECF No. 79.


                                                 1
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 5 of 17




seek a stay of the injunction from the Court of Appeals at 5 p.m. on December 3, 2020, if this

Court does not issue a stay before then.

       As demonstrated by the attached declarations from the Department of Health and Human

Services’ (1) Office of the Assistant Secretary for Preparedness and Response and (2) Office of

Refugee Resettlement (“ORR”), as well as the Department of Homeland Security’s (3) U.S.

Customs and Border Protection (“CBP”) and (4) U.S. Immigration and Customs Enforcement

(“ICE”), since September, the public health crisis in the southern border States (and indeed in the

interior of the United States) has intensified, such that enjoining the CDC Order at this juncture

will seriously interfere with ongoing efforts to combat COVID-19.

       First, the pandemic has severely impacted the medical systems and hospitals of the border

States in the last few months such that any increase in the transfer of class members into those

States’ health care systems is likely to cause irreparable harm to the public. Second, CBP officers’

and agents’ encounters with unaccompanied minors covered by the CDC order has increased

drastically, making it more likely that U.S. border facilities will need to hold class members in

congregate settings, further increasing the risk of transmission of COVID-19 to those in the border

facilities (including both other aliens held in congregate settings and the CBP personnel who must

supervise them) and from there to the U.S. population. Third, if the Court declines to stay the

injunction, the Government expects the capacity in its ORR facilities along the southwestern

border to be exhausted by December 12, 2020, and will need to transport hundreds of potentially

infected minors in its care into the interior of the United States, potentially further spreading

COVID-19.

       In short, this Court’s injunction prohibiting the expulsion of class members under the CDC

Order (or Title 42 process) means that before being transferred to ORR, class members will first

be held in congregate settings at border facilities, which were not designed for, and are not

equipped to, quarantine, isolate, or enable social distancing. This will not only dramatically

increase the risk of exposure to COVID-19 for both detained aliens and for CBP personnel (thereby

risking the continued effectiveness of CBP border operations if personnel must be removed from

                                                 2
       Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 6 of 17




the line of duty due to illness or for quarantine after exposure), but also is likely to further burden

already overtaxed local healthcare systems—a particularly harmful prospect given escalating rates

of infection and hospitalization in the border States in the last two months. In view of the

injunction’s potentially significant impact on public health, Defendants respectfully request that

the Court stay the injunction pending appeal.

                                         BACKGROUND

         Defendants have previously explained in detail the factual, statutory, and regulatory

background of this case, which Defendants incorporate by reference herein. See Defs.’ Combined

Opp’n to Pl.’s Motion for Class Certification and for Classwide Prelim. Inj., ECF No. 42, at 16-

26, ECF No. 43 (unredacted) (“PI Opp’n”); see also Memorandum Opinion, ECF No. 80, at 2-11.3

Defendants will provide only a brief summary of the procedural history here.

        Plaintiff filed this action on behalf of a putative class seeking to invalidate an order issued

by the CDC Director pursuant to 42 U.S.C. § 265 and an interim final rule. See Interim Final Rule,

Control of Communicable Diseases; Foreign Quarantine: Suspension of Introduction of Persons

Into The United States From Designated Foreign Countries of Places for Public Health Purposes,

85 Fed. Reg. 16,559-01 (Mar. 24, 2020), ECF No. 42-2. That Order temporarily prohibits the

introduction of certain aliens traveling from Canada and Mexico into the United States because of

the serious danger of their introduction of COVID-19 into border facilities and from there to the

interior of the country. See Notice of Order Under Sections 362 & 365 of the Public Health Service

Act Suspending Introduction of Certain Persons From Countries Where A Communicable Disease

Exists, 85 Fed. Reg. 17,060-02 (Mar. 26, 2020) [“CDC Order”] at 16-17, ECF No. 42-1. The CDC

Director determined that ports of entry and Border Patrol stations at or near the northern and

southern borders were not designed, and are not equipped, to effectively mitigate the risks

presented by COVID-19, id. at 15, and that those facilities largely lack sufficient capacity to


   3
      Consistent with the Court’s Memorandum Opinion, Defendants cite to the page numbers
assigned by the CM/ECF system. See Mem. Op. at 2 n.1.


                                                  3
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 7 of 17




provide medical services for aliens who test positive for COVID-19, id.; see also Final Rule, 85

Fed. Reg. 56,424, 56,433 (Sept. 11, 2020). DHS must therefore rely on local and regional hospitals

and emergency medical resources when detainees become ill or are injured, CDC Order at 16, and

experience has proven that a surge in the number of COVID-19 cases could overtax border States’

healthcare systems, see Final Rule, 85 Fed. Reg. at 56,439-40 (discussing Arizona’s experience).

The CDC Order thus requires that all aliens covered by the Order be returned as rapidly as possible,

and with as little time spent in congregate settings as is feasible, to the country from which they

entered the United States, their country of origin, or to another location, as practicable and

appropriate. CDC Order at 17.

       After Plaintiff moved to preliminarily enjoin the CDC Order (or the Title 42 process) and

to certify a class, this Court referred this case to Magistrate Judge G. Michael Harvey. On

September 8, 2020, Defendants opposed the motions. See ECF No. 42. Magistrate Judge Harvey

issued a report and recommendation on September 25, 2020, recommending that the Court grant

both motions. See Report & Recommendation at 49-50, ECF No. 65. Defendants filed their

objections shortly thereafter, ECF Nos. 69, 75.

       This Court adopted the report and recommendation on November 18, 2020. See Order,

ECF No. 79; Memorandum Opinion, ECF No. 80. In doing so, this Court provisionally certified

a class “consisting of all unaccompanied noncitizen children who (1) are or will be detained in

U.S. government custody in the United States, and (2) are or will be subjected to expulsion from

the United States under the CDC Order Process, whether pursuant to an Order issued by the

Director of the Centers for Disease Control and Prevention under the authority granted by the

Interim Final Rule, 85 Fed. Reg. 16559-01, or the Final Rule, 85 Fed. Reg. 56,424-01,” Order at

1-2, ECF No. 79, the latter of which HHS promulgated in the midst of briefing before Magistrate

Judge Harvey. Further, the Court ordered “that Defendants, their agents, and any person acting in

concert with them are enjoined from expelling the Class Members from the United States under

the CDC Order Process, whether pursuant to an Order issued by the Director of the Centers for



                                                  4
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 8 of 17




Disease Control and Prevention under the authority granted by the Interim Final Rule, 85 Fed.

Reg. 16559-01, or the Final Rule, 85 Fed. Reg. 56,424-01.” Order at 2, ECF No. 79.

                                    STANDARD OF REVIEW

       Federal Rule of Civil Procedure 54(b) allows for the court to alter an order “at any time

before the entry of a judgment adjudicating all the claims and all the parties’ rights and liabilities.”

Fed. R. Civ. P. 54(b). Motions for reconsideration under Rule 54(b) may be granted “as justice

requires.” Capitol Sprinkler Inspection, Inc. v. Guest Servs., Inc., 630 F.3d 217, 227 (D.C. Cir.

2011). In this Circuit, “‘courts have more flexibility in applying Rule 54(b)’ than in determining

whether reconsideration is appropriate” with regard to final judgments.             Cobell v. Norton,

224 F.R.D. 266, 272 (D.D.C. 2004). “[T]here must be some ‘good reason’ to reconsider an issue

already litigated by the parties and decided by the court, such as new information, a

misunderstanding, or a clear error.” Montgomery v. IRS, 356 F. Supp. 3d 74, 79 (D.D.C. 2019).

Additionally, “the party moving to reconsider carries the burden of proving that some harm would

accompany a denial of the motion to reconsider.” Bryant v. CIA, 818 F. Supp. 2d 153, 156 (D.D.C.

2011). In deciding a Rule 54(b) motion, the court may consider, among other things, whether “a

controlling or significant change in the law or facts [has occurred] since the submission of the issue

to the court.’” Judicial Watch v. Dep’t of Army, 466 F. Supp. 2d 112, 123 (D.D.C. 2006) (quoting

Cobell, 224 F.R.D. at 272) (alteration in original). Ultimately, “the ‘as justice requires’ standard

amounts to determining ‘whether reconsideration is necessary under the relevant circumstances.’”

Id. (quoting Cobell, 224 F.R.D. at 272).

       As discussed below, Defendants amply meet the above standard given recent trends in the

COVID-19 pandemic, a nationwide and worldwide public health crisis unprecedented by any

measure.

                                            ARGUMENT

        This Court’s preliminary injunction blocks the Government from implementing a CDC

Order issued to protect public health in the midst of an unprecedented pandemic that has already

infected millions and killed hundreds of thousands in the United States. Moreover, the injunction

                                                   5
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 9 of 17




takes effect at a perilous time when COVID-19 presents new challenges at the border arising since

the Court considered the issue of a stay based on facts as they stood in September. As explained

by the agencies responsible for addressing the public health emergency and the strains it places on

our healthcare systems, for taking care of alien minors in government custody, and for protecting

the Nation’s borders, serious public health developments demonstrate the potentially dire

consequences of failing to stay the injunction.

I.     THE PUBLIC HEALTH CHALLENGES POSED BY THE PANDEMIC HAVE
       BECOME INCREASINGLY SEVERE IN RECENT MONTHS.
       As explained by Dr. Robert Kadlec, the Assistant Secretary for Preparedness and Response,

at the Department of Health and Human Services (HHS), since September COVID-19 has been

rapidly spreading throughout the United States, Declaration of Robert Kadlec, M.D. (“Kadlec

Decl.”) ¶ 14 (attached as Exh. A), and the overall percentage of visits to outpatient providers or

emergency departments for COVID-like or influenza-like illness has been increasing, id. ¶ 16.

While the situation has been serious since the pandemic began, it has become even more so in the

last two months: more Americans are getting infected with COVID-19, more Americans are

dying, and more are requiring hospitalization. Id. Uncontrolled community transmission is now

occurring in wide swaths of the country, and COVID-19 infections have skyrocketed in the States

along the southern border. Id. ¶ 17.

       Border States have taken extraordinary measures to try to address the recent surge in

COVID-19 cases. California, for example, has significantly rolled back its phased reopening

plans: As of November 17, 2020, 94% of Californians live in counties where most nonessential

indoor businesses are closed. Id. ¶ 30. New Mexico similarly re-imposed restrictions in November

in response to the unprecedented spike in COVID-19 infections and the corresponding escalating

strain on local healthcare systems. Id. ¶ 37. The State’s residents have been instructed to remain

at home with limited exceptions, and essential businesses have been severely restricted. Id. ¶ 38.

       In light of the recent rapid spread of COVID-19, Dr. Kadlec cautioned that every effort

must be made to reduce the strain on local healthcare systems. Id. ¶ 58. Whereas the CDC Director

                                                  6
          Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 10 of 17




has determined that the CDC Order has been effective in mitigating the spread of COVID-19, see

Order Suspending the Right to Introduce Certain Persons From Countries Where a Quarantinable

Communicable Disease Exists, 85 Fed. Reg. 65806 (Oct. 16, 2020, effective on Oct. 13, 2020) at

6-7; 4 Final Rule, 85 Fed. Reg. at 56,433, enjoining the CDC Order at this juncture would create or

exacerbate conditions conducive to further COVID-19 outbreaks, see Kadlec Decl. ¶ 57.

            The strain would not be limited to healthcare systems or the domestic population they

serve. It would also place CBP operations at risk. CBP, the agency charged with the important

responsibility for protecting the Nation’s borders and ensuring the smooth flow of commerce,

among other important missions, has experienced a more than 200 percent increase from

September 2020 to October 2020 in employees testing positive for COVID-19, and November

2020 has already surpassed October’s figures. See Declaration of Mark A. Morgan (“Morgan

Decl.”) ¶ 17 (attached as Exh. B); see also id. ¶ 26 (explaining that limiting the CDC Order would

have grave consequences to public safety and national security). Tragically, CBP personnel have

continued to die from COVID-19. Compare Final Rule 85 Fed. Reg. 56,434 (noting that ten CBP

employees and a contractor had died from COVID-19 as of August 7, 2020), with Morgan Decl.

¶ 17 (explaining that 14 CBP employees and a contractor have died as a result of the virus). See

also Declaration of Russell Hott (“Hott Decl.”) ¶ 18 (attached as Exh. C) (six ICE Enforcement

and Removal Operations “employees have died after contracting COVID-19 since the onset of the

pandemic in February 2020”).

II.         RECENT DEVELOPMENTS AT THE BORDER EXACERBATE                                     THE
            POTENTIAL PUBLIC HEALTH EFFECTS OF THE INJUNCTION.
            A.     The Number of Unaccompanied Minors Attempting to Cross the Southern
                   Border Has Increased Dramatically.
            The number of unaccompanied minors covered by the CDC Order that CBP has

apprehended or encountered along the southern border has climbed dramatically. During the 72-

      4
    Available at https://www.cdc.gov/coronavirus/downloads/10.13.2020-CDC-Order-
Prohibiting-Introduction-of-Persons-FINAL-ALL-CLEAR-encrypted.pdf.


                                                  7
    Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 11 of 17




day period prior to September 8, 2020, when Defendants filed their opposition and request for a

stay, there were 6,000 such encounters; that number swelled to 9,941 in the next 72-day period,

constituting a 66 percent increase. See Morgan Decl. ¶ 5. During the same period, the Rio Grande

Valley sector experienced a 109 percent increase, and the Tucson Sector a 78 percent increase. Id.

And these increases are expected to continue, as CBP anticipates that its apprehensions of

unaccompanied minors will increase by 50 percent within 120 days. Id. ¶ 6; see also id. ¶ 7

(“Based on my experience both as the Chief of the USBP and in my current role, I expect that the

District Court Order will serve as a pull factor leading to additional numbers of class members

apprehended and referred to ORR.”). The increase in apprehensions of unaccompanied minors is

consistent with the increase of CBP enforcement encounters generally, which have climbed in each

of the last several months. For instance, whereas CBP encountered 17,106 aliens in April 2020, it

encountered 57,674 in September and 69,237 in October. Id. ¶ 11. And encounters with aliens

who test positive for COVID-19 increased rapidly through the summer, and now such encounters

are a regular occurrence. See id. ¶ 16. This is no surprise, as Mexico continues to be hit hard by

COVID-19 and has seen spikes in many of its states in recent weeks. Kadlec Decl. ¶ 42; see also

id. ¶ 43 (“As of November 11, the highest rates of hospital occupancy can be found among the

Mexican border states of Chihuahua, Coahuila, and Nuevo Leon.”).

       From a public health perspective, increased encounters are particularly dangerous given

the dire public health situation along the southern border. Texas is experiencing a surge in

COVID-19 hospitalizations, with hospitalizations increasing more than 75% since the beginning

of October. Morgan Decl. ¶ 20. If these current trends continue, Dr. Kadlec expects that hospital

systems in some localities in Texas could be overwhelmed. See Kadlec Decl. ¶ 20. The El Paso

region has been particularly devastated, where the number of hospitalized COVID-19 patients has

increased nearly tenfold since the start of September; the region now has only 36 available ICU

beds to serve a population of more than 880,000 people. Id. ¶ 22. Arizona’s healthcare system is

similarly nearing capacity in terms of available in-patient and ICU hospital beds, with only 208

ICU beds left to care for new patients as of November 15. Id. ¶ 34. Pima County, Arizona had

                                                8
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 12 of 17




340 available ICU beds on October 13, but that number dropped precipitously to only 29 by

November 12. Id.

       B.      The Office of Refugee Resettlement Now Faces Severe Capacity Limitations
               Due to the Spread of COVID-19 and Conditions at the Border.
       The Office of Refugee Resettlement has been severely impacted by the recent increases in

the number of referrals to ORR, increases in the number of minors who are already infected with

COVID-19, and the increasing severity of public health conditions in States where ORR has
extensive operations. If the CDC Order remains enjoined, ORR will face even greater challenges

in accommodating the expected increases in referrals of covered minors. A stay of the injunction

is vital to ensure that ORR’s ability to provide safe environments to minors in its care is not

compromised.
               1.      The Worsening Pandemic and Increasing Numbers of Minors Referred
                       to ORR Have Limited ORR Capacity.
       Due to the public health measures recently put in place to address the evolving pandemic,

ORR now has approximately 7,800 available beds for minors referred to its care. Declaration of

ORR Acting Director Nicole Cubbage (“Cubbage Decl.”) ¶ 5 (attached as Exh. D). That number

represents a 40% reduction of ORR’s approximately 13,000 beds across its entire network. As

ORR’s Acting Director Cubbage explained, a large number of its 13,000 beds cannot be safely

filled given the COVID-19 infection prevention and containment protocols that are necessary to

protect the minors in ORR’s care. Id. Further, the majority of ORR’s beds are located in the

interior of the country, and utilizing them would require the transportation of hundreds of alien

minors across the country, which, in turn, will expose those minors, ORR personnel, and the

general public to further risk of COVID-19 infection. Id.

       Exacerbating ORR’s limited capacity is the recently increasing numbers of referrals of

minors to ORR. While ORR had 39 referrals in May, it received over 1,500 referrals in October.

Id. ¶ 14. Historically, ORR has experienced increases in referrals in the fall and winter months.

Id. Additionally, other situational factors can lead to significant surges in the number of referrals


                                                 9
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 13 of 17




well above typical seasonal fluctuations. Id. These circumstances include the rapidly deteriorating

economic and political conditions, natural disasters (such as the two recent devastating hurricanes

in Central America), and major political and public health developments in the United States, such

as the recent announcement of a forthcoming COVID-19 vaccine. Id. ORR anticipates that the

confluence of these factors right now will likely cause a surge in the number of referrals to ORR

in the coming weeks. Id. ¶ 15. Without a stay of the injunction, ORR will immediately experience

an even greater increase in the number of daily referrals, based on recent trends of CBP encounters

with unaccompanied minors. Id. ¶ 19. Acting Director Cubbage further estimates the number of

referrals from DHS may increase to approximately 300 to 400 referrals per day in the near future

as a result of the injunction. Id. ¶ 20.

        Moreover, based on CBP’s projections, ORR estimates that the capacity in its facilities

along the southwestern border will be exhausted by January 7, 2021, with full nationwide capacity

exhausted by February 6, 2021. Id. ¶ 21. And based on ORR’s own internal projections, ORR

estimates that the capacity in its facilities along the southwestern border may be exhausted by

December 12, 2020, with full nationwide capacity exhausted on January 13, 2020. Id.

        Particularly concerning is the drastically increasing percentage of minors referred to ORR

who test positive with COVID-19 when they enter the ORR network. While a total of 838 minors

have tested positive in the period starting at the beginning of the pandemic up until November 17,

2020, 679 of those minors tested positive upon entry into ORR care in the last three months. Id.

¶ 16.

                2.      Recent Developments in Border States Where ORR Facilities Are
                        Located Further Limit ORR Capacity.
        The pandemic’s increasingly severe effects on States at the southwestern border are likely

to further diminish ORR capacity and to disrupt its operations. ORR has a large number of

facilities in the border States that have experienced a significant resurgence of COVID-19 since

September 2020. See Cubbage Decl. ¶ 23. Specifically, ORR operates 42 facilities in Texas, eight

facilities in California, and 17 facilities in Arizona, representing approximately 8,128 beds, or 62%

                                                 10
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 14 of 17




of ORR’s total capacity. Id. Many of these facilities, in turn, are located in counties close to the

U.S.–Mexico border that have been particularly affected by the recent COVID-19 resurgence. Id.

¶ 24. For instance, 14 of ORR’s 17 Arizona facilities are located in Maricopa County, which has

experienced a total of 176,993 COVID-19 infections and 14,621 COVID-19-related

hospitalizations. Id. And in Texas, where ORR operates 23 facilities located in counties on the

U.S.–Mexico border, one such county recently reported 33,935 active cases and 1,111

hospitalizations, leaving only 366 available hospital beds and 36 available ICU beds in an area

home to over 880,000 people. Id. ¶ 25.

       Given that ORR facilities must rely on local hospitals and medical systems for emergency

and other types of medical care, any minors in the care of ORR who need treatment in a hospital

in a severely impacted area not only would be at risk of exposure to COVID-19, but would also

further strain the local healthcare systems already struggling to meet the needs of the local

population. Id. ¶ 26. Additionally, because travel has been restricted in many states because of

widespread community transmission, the transportation of minors in ORR’s care may be hindered

by local health restrictions and protocols, and minors in some States may be subjected to additional

quarantine and isolation periods upon arrival. Id. ¶ 11.

       Further, increased community transmission in these States will have an impact on the

personnel required to maintain ORR operations, which further reduces ORR capacity. Id. ¶ 27. In

particular, ORR must engage in contact tracing when facility staff who interact with alien minors

self-report exposure to or infection with COVID-19. Id. And while contact tracing is carried out,

ORR must issue a stop-placement order for the affected facility until contact tracing is complete.

Id. Due to mandatory staffing ratios, even a small number of absences reduces the number of

referrals that can be placed in an affected facility. Id. Moreover, staff may be forced to take time

off to quarantine following their transport of alien minors to other states/programs if the staff were

to comply with States’ potential re-imposition of quarantine requirements on interstate travelers.

Id. ¶ 29. These situations are entirely unpredictable, and they can suddenly result in a significant

reduction of ORR’s capacity to receive referrals, id. ¶ 27, when ORR programs are already having

                                                 11
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 15 of 17




difficulty recruiting staff for shift work due to the perceived risk of exposure to COVID-19 in

congregate care settings, id. ¶ 29. If the transfer of minors to ORR is impeded, these minors will

remain in CBP facilities that are even less well equipped to house them in conditions suitable for

the pandemic, placing CBP and ICE personnel, as well as local health systems, at even greater risk

and compromising CBP’s ability to effectively execute its border protection and other missions.

Morgan Decl. ¶¶ 9, 12, 18, 22; accord Hott Decl. ¶¶ 17-18; Cubbage Decl. ¶ 13. In addition, in

the event ORR’s capacity is exhausted, the Office of the Assistant Secretary for Preparedness and

Response will likely be called upon to assist ORR and DHS in managing an influx of

unaccompanied minors, as well as the necessary medical staging or quarantining of such minors

at a time when the agency is fully engaged in meeting the domestic needs of the COVID-19

response. Kadlec Decl. ¶ 50.

                3.      Absent a Stay, ORR May Need to Transport Minors to Facilities
                        Further Inland, Posing Public Health Risk to the U.S. Population in the
                        Interior.
         To minimize the need to transport infected or potentially infected minors further into the

interior of the United States, ORR has implemented a medical staging plan that focuses on initially

placing new referrals into ORR facilities located near the U.S. southwestern border. Cubbage

Decl. ¶ 17. The movement of potentially infected minors further into the U.S. can be harmful.

This is so because the mitigation measures for ground and air transportation of minors to ORR

facilities are limited. Hott Decl. ¶¶ 12, 16. And in light of the large number of cases transferred

to ORR, ICE is likely to resort to commercial air travel to transport minors for placement at ORR

facilities further inland, increasing risk to the general public. Id. ¶¶ 12, 14, 16; see also id. ¶¶ 12-

20 (explaining the complicated logistics of ICE’s role in transporting alien minors). To illustrate

the risk of transmitting COVID-19 in similar circumstances, nearly 12% of juvenile aliens who

were processed pursuant to the CDC Order and returned to Guatemala on a recent flight later tested

positive for COVID-19. See id. ¶ 15.




                                                  12
     Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 16 of 17




       Yet this movement of minors in the care of ORR to facilities that are further inland is very

likely in the absence of a stay. As of November 16, 2020, ORR had 2,305 minors in its care. See

Cubbage Decl. ¶ 18. Approximately 72% of these minors are currently housed in ORR facilities

along the southwestern border. Id. Approximately 40% of the total facility capacity at the

southwestern border has already been filled, and some of ORR’s southwestern border facilities are

already nearing maximum capacity. Id. For instance, the Corpus Christi area facilities are now at

86% capacity. Id.

       Once the staging capacity at the southwestern border facilities is exhausted, ORR will need

to transport incoming minors further into the interior of the country. Id. ¶¶ 5, 10. This will require

minors to be transported long distances on commercial and charter flights, which risks exposing

all involved to COVID-19 and could exacerbate the domestic public health crisis. Id. ¶¶ 5, 10.

       ORR expects to face a dire capacity shortage in the event that a significant number of

infections develop among minors in its care, or if there is a surge in the number of referrals. Id.

¶ 18. In either case, ORR will need to move incoming minors to facilities that are further inland.

Id. This poses an avoidable risk of harm to the U.S. population that can compound the risks that

the U.S. is already facing.

                                          CONCLUSION

        In sum, the pandemic’s recent surge has severely strained the healthcare systems along the

southern border, while encounters with unaccompanied minors covered by the CDC Order have

increased dramatically and ORR is expected to reach capacity soon. Prohibiting the expulsion of

class members under the CDC Order at this critical juncture deprives the Government of an

important tool to help address the public health emergency, and increases the risk of transmitting

COVID-19 into the United States, further overtaxing our Nation’s already limited healthcare

resources. This Court should reconsider its denial of Defendants’ request for a stay of injunction

pending appeal.




                                                 13
    Case 1:20-cv-02245-EGS-GMH Document 82 Filed 11/25/20 Page 17 of 17




Dated: November 25, 2020
Respectfully submitted,

                                      JEFFREY BOSSERT CLARK
                                      Acting Assistant Attorney General

                                      JOHN V. COGHLAN
                                      Deputy Assistant Attorney General

                                      /s/ Jean Lin
                                      JEAN LIN (NY 4074530)
                                      Special Litigation Counsel
                                      KEVIN SNELL (NY 5225669)
                                      TANYA SENANAYAKE (DC Bar 1006218)
                                      Trial Attorneys
                                      Federal Programs Branch
                                      Civil Division, Department of Justice
                                      1100 L Street, N.W.
                                      Washington, D.C. 20005
                                      (202) 514-3716
                                      Jean.Lin@usdoj.gov
                                      Attorneys for Defendants




                                    14
